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                                                                        U.S. BANKRUPTCY COURT
                                                                        SO. DISTRICT OF FLORIDA

 1      Walter J. Mathews (Florida Bar No. 0174319)                         JAN 27 2025
        wjm@mathewsllp.com                                                                     ,
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        219 Davie Boulevard                                        FILP.D         RECEIVEIC,   fi
 3      Fort Lauderdale, FL 33315
        Telephone: 954-463-1929
 4      Facsimile: 954-653-2963

 5      Nanette D. Sanders (State Bar No. 120169)
        nanette@ringstadlaw.com'
 6      RINGSTAD & SANDERS LLP
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 7      Newport Beach, CA 92660
        Telephone: 949-851-7450
 8      Facsimile: 949-851-6926

 9      Attorneys for Karen Sue Naylor,
        Chapter 7 Trustee, John Stephen Holmes
10

11 •

12                                 UNITED STATES BANKRUPTCY CUURT

13                              SOUTHERN DISTRICT OF FLORIDA (MIAMI)

14

15      In re                                              Case No. 24-21209-LMI

16 • SHIFTPIXY, INC.,                                      Chapter 11

17                                                         REQUEST FOR SPECIAL NOTICE AND
                           Debtor.                         INCLUSION ON MASTER MAILING
18                                                         LIST

19                                                         (No Hearing Required)

20·
21              TO THE CLERK OF THE COURT, THE UNITED STATES TRUSTEE, THE

22      DEBTOR AND ITS COUNSEL OF RECORD, AND TO OTHER PARTIES IN

23      INTEREST:
24              P~EASE TAKE NOTICE that, pursuant to Bankruptcy Rule 9010(b), Karen Sue
25     · Naylor, Chapter 7 Trustee of the Estate of John Stephen Holmes, pending in the United States
26      Bankruptcy Central District of California as Case No. 8:20-bk-10174 SC, hereby submits her

27      request for notice in this bankruptcy case.
28              Pursuant to Bankruptcy Rules 2002, 3017, 4001, 9007 and 9010(b), Karen Sue Naylor
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 1     hereby requests notice of all matters in the above-captioned case which require notice to creditors,
 2     to a creditors' committee, ·or to other parties in interest, including, without limitation, all notices

 3•    and papers referred to .in Bankruptcy Rules 2002, 3017, 4001, 9007 and 90 I 0(b), copies of all

 4     proposed plans and disclosure statements, notices of any orders, applications, complaints, proofs

 5     of claim, demands, hearings, motions, petitions, pleadings or requests (whether for relief from

 6     stay, adequate protection or otherwise), and other documents brought before the Court in this
 7     case, whether formal or informal, whether written or oral, and whether transmitted or conveyed
 8 • by mail, delivery, telephone, telegraph, telex or otherwise. Trustee Karen Sue Naylor requests

 9     that such notice be served as follows:
10             BY MAIL AND ELECTRONIC DELIVERY:

11             Walter J. Mathews
               wjm@mathewsllp.com
12·            MATHEWS GIBERSON LLP
 '             219 Davie Boulevard
13             Fort Lauderdale, FL 33315
14

15                                                     Respectfully Submitted,

16     Dated:...-.

17
18                                                           al r J. Mathews
                                                       Attorneys for Karen Sue Naylor,
19                                                     Chapter 7 Trustee for Estate of John Stephen
                                                       Holmes
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~WALTERJ.
L:!J MATHEWS.PA.
                                                                           WALTER J. MATHEWS
                                                                                 Attorney at Law
                                                                                  954-463-1929
                                                                             wjm@mathewsllp.com




                                                January 22, 2025

Via U.S. Mail

Clerk of Court
C. Clyde Atkins U.S. Courthouse
301 N. Miami Avenue, Room 150
Miami, Florida 33128

        Re:     In re Shiftpixy, Inc.,
                Case No. 24-21209-LMI, currently pending in the U.S. Bankruptcy Court
                Southern District of Florida,

Dear Clerk of Court,

       Please find enclosed the following document for filing in the above-referenced
bankruptcy case: Request for Special Notice and Inclusion on Master Mailing List.

        I respectfully request that the document be filed and recorded in the court' s records.
Please let me know if there are any issues or additional requirements with this submission.

       Should you require further information, do not hesitate to contact me at the phone
number or email address provided above. If a file-stamped copy of the filing is required, I
have enclosed a self-addressed, stamped envelope for your convenience.

       Thank you for your attention to this matter.



                                                Veryl ru; ~rs,


                                                ~~s

                         219 Davie Boulevard I Fort Lauderdale, FL 33315
                            Tel. 954-463-1929 I www.mathewsllp.com
